Case 1:20-cv-00679-RGA Document 115 Filed 03/11/22 Page 1 of 1 PageID #: 3923




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 ATLAS ULUSLARARASI
 KUMANYACILIK TIC A.S et
 al.,
                                                         Civil Action No. 20-679-RGA
        Plaintiffs/Intervening Plaintiffs,
 V.
                                                          IN ADMIRAL TY, Rule 9(h)
 MN ARICA, IMO 9399741 , its engines,
 tackle and apparel, et al.,

        Defendants.


                                             ORDER

       For the reasons stated in the accompanying Memorandum, Calpam' s Motion to Disburse

Registry Funds (D.I. 100) and Atlas's Motion for Entry of Summary Judgment Pursuant to Fed.

R. Civ. P. 56 (D.I. 103) are DENIED. BOA' s Motion for Summary Judgment on Priorities of

Claims and Order for Return of Deposit (D.I. 102) is GRANTED. The Clerk is directed to

return the balance (approximately $605,672.61) in the Court' s registry to BOA.


                                                                  ~
                                                    Entered this ~ y of March, 2022.
